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 10                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 11

 12    ISRAEL SANCHEZ, Individually             Case No.:
       and On Behalf of All Others
 13    Similarly Situated,
 14                                             CLASS ACTION COMPLAINT
                                Plaintiff,      FOR VIOLATIONS OF THE
 15                                             FEDERAL SECURITIES LAWS
 16                 v.

 17    CENTENE CORP., MICHAEL F.                JURY TRIAL DEMANDED
 18    NEIDORFF, and JEFFREY A.
       SCHWANEKE,
 19

 20                             Defendants.
 21

 22

 23

 24

 25

 26

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  1         Plaintiff Israel Sanchez (“Plaintiff”), by and through his attorneys, alleges the
  2 following upon information and belief, except as to those allegations concerning

  3 Plaintiff, which are alleged upon personal knowledge. Plaintiff’s information and

  4 belief is based upon, among other things, his counsel’s investigation, which includes

  5 without limitation: (a) review and analysis of regulatory filings made by Centene

  6 Corp. (“Centene” or the “Company”), with the United States (“U.S.”) Securities and

  7 Exchange Commission (“SEC”); (b) review and analysis of press releases and media

  8 reports issued by and disseminated by Centene; and (c) review of other publicly

  9 available information concerning Centene.

 10                   NATURE OF THE ACTION AND OVERVIEW
 11         1.    This is a class action on behalf of persons and entities that acquired
 12 Centene securities between April 26, 2016, and September 6, 2016, inclusive (the

 13 “Class Period”), against the Defendants,1 seeking to pursue remedies under the

 14 Securities Exchange Act of 1934 (the “Exchange Act”).

 15         2.    Centene provides health plans in over twenty states through Medicaid,
 16 Medicare, and the Health Insurance Marketplace.

 17         3.    On March 24, 2016, the Company completed the acquisition of Health
 18 Net, Inc. (“Health Net”) for approximately $6 billion, including the assumption of

 19 debt. The acquisition was accounted for as a business combination, which requires

 20 that assets acquired and liabilities assumed be recognized at their fair values as of

 21 the acquisition date.

 22         4.    Accordingly, on May 10, 2016, Centene provided financial information
 23 to investors concerning the completed acquisition of Health Net. Therein, the

 24 Company incorrectly accounted for Health Net’s underperforming health plans,

 25 including by understating certain reserves to account for losses in California,

 26 Arizona and Oregon.

 27
      1
       “Defendants” refers collectively to Centene, Michael F. Neidorff, and Jeffrey A.
 28
      Schwaneke.
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  1          5.    Indeed, throughout the Class Period, Defendants made materially false
  2 and/or misleading statements, as well as failed to disclose material adverse facts

  3 about the Company’s business, operations, and prospects. Specifically, Defendants

  4 made false and/or misleading statements and/or failed to disclose: (1) that certain

  5 Health Net insurance programs were significantly underperforming; (2) that Health

  6 Net’s insurance plans were generating material losses; (3) that Centene had

  7 overstated Health Net’s financial prospects; and, (4) that, as a result of the

  8 foregoing, Defendants’ statements about Centene’s business, operations, and

  9 prospects, were false and misleading and/or lacked a reasonable basis.

 10          6.    As a result of Defendants’ wrongful acts and omissions, and the
 11 precipitous decline in the market value of the Company’s securities, Plaintiff and

 12 other Class members have suffered significant losses and damages.

 13                            JURISDICTION AND VENUE
 14          7.    The claims asserted herein arise under Sections 10(b) and 20(a) of the
 15 Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

 16 thereunder by the SEC (17 C.F.R. § 240.10b-5).

 17          8.    This Court has jurisdiction over the subject matter of this action
 18 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. §

 19 78aa).

 20          9.    Venue is proper in this Judicial District pursuant to 28 U.S.C. §
 21 1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts

 22 in furtherance of the alleged fraud or the effects of the fraud have occurred in this

 23 Judicial District. Many of the acts charged herein, including the dissemination of

 24 materially false and/or misleading information, occurred in substantial part in this

 25 Judicial District as Health Net’s principal executive offices are located within this

 26 Judicial District.

 27          10.   In connection with the acts, transactions, and conduct alleged herein,
 28 Defendants directly and indirectly used the means and instrumentalities of interstate

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  1 commerce, including the United States mail, interstate telephone communications,

  2 and the facilities of a national securities exchange.

  3                                        PARTIES
  4        11.    Plaintiff Israel Sanchez, as set forth in the accompanying certification,
  5 incorporated by reference herein, purchased Centene securities during the Class

  6 Period, and suffered damages as a result of the federal securities law violations and

  7 false and/or misleading statements and/or material omissions alleged herein.

  8        12.    Defendant Centene Corp. is a Delaware corporation with its principal
  9 executive offices located St. Louis, Missouri. Centene’s shares trade on the New

 10 York Stock Exchange (“NYSE”) under the symbol “CNC.”

 11        13.    Defendant Michael F. Neidorff (“Neidorff”) was, at all relevant times,
 12 the Chief Executive Officer (“CEO”) of Centene.

 13        14.    Defendant Jeffrey A. Schwaneke (“Schwaneke”) was, at all relevant
 14 times, the Chief Financial Officer (“CFO”) of Centene.

 15        15.    Defendants Neidorff and Schwaneke are collectively referred to
 16 hereinafter as the “Individual Defendants.” The Individual Defendants, because of

 17 their positions with the Company, possessed the power and authority to control the

 18 contents of Centene’s reports to the SEC, press releases and presentations to

 19 securities analysts, money and portfolio managers and institutional investors, i.e.,

 20 the market. Each defendant was provided with copies of the Company’s reports and

 21 press releases alleged herein to be misleading prior to, or shortly after, their issuance

 22 and had the ability and opportunity to prevent their issuance or cause them to be

 23 corrected. Because of their positions and access to material non-public information

 24 available to them, each of these defendants knew that the adverse facts specified

 25 herein had not been disclosed to, and were being concealed from, the public, and

 26 that the positive representations which were being made were then materially false

 27 and/or misleading. The Individual Defendants are liable for the false statements

 28 pleaded herein, as those statements were each “group-published” information, the

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  1 result of the collective actions of the Individual Defendants.

  2                            SUBSTANTIVE ALLEGATIONS
  3                                       Background
  4         16.    Centene provides health plans in over twenty states through Medicaid,
  5 Medicare, and the Health Insurance Marketplace. The Company completed the

  6 acquisition of Health Net in March of 2016 for approximately $6 billion.

  7                              Materially False and Misleading
                            Statements Issued During the Class Period
  8
            17.    The Class Period begins on April 26, 2016, on that day the Company
  9

 10 published a press release announcing first quarter 2016 results, and provided 2016

 11 guidance of revenues of $39.8 billion at the high end. For the first quarter 2016, the

 12
      Company announced a diluted net loss per share of $0.13 on revenues of $6.9
 13

 14 billion.

 15
            18.    In the Company’s April 26, 2016 press release, Defendant Neidorff
 16
      noted the transformational nature of the Health Net transaction, stating in relevant
 17

 18 part:

 19
            We are pleased to have closed the Health Net transaction, as expected,
 20         in the first quarter. This acquisition is transformational -- building on
            our critical mass and new products and capabilities that will enhance
 21
            the sustainability of our long-term growth. The integration process is
 22         proceeding as planned and we look forward to continued success in
            2016 and beyond.
 23

 24         19.    On April 26, 2016, the Company filed with the SEC its quarterly report
 25
      on Form 10Q, and reiterated the financial results previously stated in the April 26,
 26
      2016 press release.
 27

 28         20.    On May 10, 2016, Centene filed a report with the SEC, therein the

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  1 Company provided pro forma financial information for Centene and Health Net for

  2
      the year ended December 31, 2015, including the following purchase price
  3

  4
      allocation for the Health Net transaction:

  5               Assets Acquired and Liabilities Assumed:
                  Cash and cash equivalents                                                            $       1,422
  6               Premium and related receivables (a)                                                          1,076
  7               Short term investments                                                                          40
                  Other current assets                                                                           670
  8               Long term investments                                                                        1,965
                  Restricted deposits                                                                             36
  9               Property, software and equipment, net                                                           43
 10               Intangible assets (b)                                                                        1,500
                  Other long term assets                                                                         203
 11                    Total assets acquired                                                                   6,955

 12
                  Medical claims liability                                                                     1,370
 13               Borrowings under revolving credit facility                                                     285
                  Accounts payable and accrued expenses                                                        1,928
 14               Return of premium payable                                                                      375
                  Unearned revenue                                                                               117
 15
                  Long term deferred tax liabilities (c)                                                         415
 16               Long term debt (d)                                                                             418
                  Other long term liabilities                                                                    369
 17                   Total liabilities assumed                                                                5,277

 18
                     Total identifiable net assets                                                             1,678
 19               Goodwill (e)                                                                                 3,601
                          Total assets acquired and liabilities assumed                                $       5,279
 20

 21
            21.         And Centene also provided the following consolidated pro forma
 22
      performance of Centene and Health Net information:
 23                       Unaudited Pro Forma Condensed Combined Statement of Operations
                                        For the Year Ended December 31, 2015
 24                                         (In millions, except share data)
                                                                                     Pro Forma
 25                                                                                 Adjustments                Pro Forma
                                                 Centene           Health Net         (Note 6)                 Combined
 26         Revenues:
              Premium                        $      19,389     $       15,553   $          (346) (i)       $       34,596
 27           Service                                1,876                629                —                      2,505
              Premium and service revenues          21,265             16,182              (346)                   37,101
 28

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                                                        5
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  1       Premium tax and health insurer fee                 1,495               —                 346    (i)                 1,841
               Total revenues                              22,760            16,182                 —                       38,942
  2        Expenses:
          Medical costs                                    17,242            13,041                 63    (i)               30,346
  3
          Cost of services                                   1,621              604                 —                         2,225

  4       General and administrative expenses                1,826            2,109               (216) (b), (e),             3,719
                                                                                                        (f), (i),
                                                                                                        (j)
  5       Premium tax expense                                1,151               —                 267    (i)                 1,418
          Health insurer fee expense                          215                —                 233    (i)                  448
  6
          Asset impairment                                     —                  2                 —                            2
  7            Total operating expenses                    22,055            15,756                347                      38,158
               Earnings from operations                       705               426               (347)                        784
  8        Other income (expense):
          Investment and other income                          35                62                 (4) (a)                     93
  9
          Interest expense                                     (43)              (33)             (126) (c), (d)              (202)
 10            Earnings from continuing                       697               455               (477)                        675
                 operations, before income tax
                 expense
 11
          Income tax expense (benefit)                        339               269               (152) (g)                    456

 12            Earnings from continuing                       358               186               (325)                        219
                 operations, net of income tax
                 expense
 13       iscontinued operations, net of income                 (1)              —                  —                            (1)
           tax expense (benefit)
 14            Net earnings                                   357               186               (325)                        218
         Earnings) loss attributable to                         (2)              —                  —                            (2)
 15       noncontrolling interests
               Net earnings attributable to
 16              common stockholders               $          355     $         186     $         (325)             $          216


 17       mounts attributable to common stockholders:
          Earnings from continuing operations,
 18         net of income tax expense                         356               186               (325                         217
          Discontinued operations, net of income                (1               —                  —                            (1
 19         tax expense (benefit)
            Net earnings                                      355               186               (325                         216
 20
          et earnings per common share:
 21       Basic:
            Continuing operations                  $          2.99    $         2.40                                $          1.30
 22
            Discontinued operations                          (0.01)              —                                            (0.01)
 23           Basic earnings per common share      $          2.98    $         2.40                                $          1.29

 24
          Diluted:

 25         Continuing operations                  $          2.89    $         2.37                                $          1.26
            Discontinued operations                          (0.01)              —                                            (0.01)
 26           Diluted earnings per common share $             2.88    $         2.37                                $          1.25

 27
         Weighted average number of common stock outstanding:
 28          Basic                                     119,100,744        77,212,351        (28,762,907) (h)            167,550,188



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  1            Diluted                     123,066,370   78,358,471   (29,266,191) (h)   172,158,650


  2

  3        22.           The above statements contained in ¶¶17-21 were materially false and/or
  4 misleading, as well as failed to disclose material adverse facts about the Company’s

  5 business, operations, and prospects. Specifically, these statements were false and/or

  6 misleading statements and/or failed to disclose: (1) that certain Health Net insurance

  7 programs were significantly underperforming; (2) that Health Net’s insurance plans

  8 were generating material losses; (3) that Centene had overstated Health Net’s

  9 financial prospects; and, (4) that, as a result of the foregoing, Defendants’

 10 statements about Centene’s business, operations, and prospects, were false and

 11 misleading and/or lacked a reasonable basis.

 12                             Disclosures at the End of the Class Period
 13        23.           On July 26, 2016, the Company filed a report with the SEC on Form
 14 8K, stating that it was reserving approximately $300 million for losses associated

 15 with Health Net’s insurance plan. The Company stated in relevant part:

 16        In connection with the Company's second quarter 2016 earnings
           conference call on July 26, 2016, the Company discussed the fair value
 17        of the premium deficiency reserve of approximately $300 million
           recorded in connection with the Health Net acquisition. The fair value
 18        of the premium deficiency reserve is comprised of the following:
 19        •                    $125 million associated with the California commercial
                                business, $50 million of which is associated with
 20                             substance abuse treatment facilities. We have filed for a
                                combination of price increases and benefit design changes
 21                             including reductions in reimbursement for out of network
                                services. We are in the final stages of approval with the
 22                             California Department of Insurance, which will be
                                concluded by the end of the third quarter of 2016.
 23
           •                    $70 million associated with the Arizona individual
 24                             commercial business. We will exit the entire individual
                                PPO business, effective January 1, 2017. We are reducing
 25                             our participation in the health insurance marketplace
                                business to one county for 2017 and have taken
 26                             significant rate actions.
 27        •                    $70 million associated with the Medicare business. The
                                2017 bids have been submitted and should return the
 28                             business to profitability in 2017.

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  1
            •            $15 million associated with the Arizona Medicaid
  2                      business. We have fully transitioned this business to
                         Centene's operating platform as of July 1, 2016, and we
  3                      have taken appropriate actions to improve performance.
  4         •            $20 million of other smaller items including the Arizona
                         small group and Oregon individual business. We have
  5                      filed for rate increases and taken other appropriate actions
                         to address these for 2017.
  6

  7         24.   On this news, Centene’s shares price fell $6.39 per share, or over 8%,
  8 to close at $68.87 per share on July 26, 2016, on unusually heavy trading volume.

  9         25.   Then on September 6, 2016, during the middle of the trading session,
 10 Leerink Partners, LLC (“Leerink”) issued a report downgrading Centene stock due

 11 to underperformance of the Health Net legacy insurance programs, including Health

 12 Net’s California substance abuse programs. The Leerink report stated in relevant

 13 part:

 14         We are downgrading CNC from OP to MP while maintaining our PT
 15
            at $80. Our downgrade is predicated on our view of below consensus
            EPS achievability in 2017 where we are lowering our EPS estimate by
 16         an incremental 9c to $4.56, below consensus of $4.87. Our 2017E
 17
            EPS achievability already contemplated the downside of the HNT
            [Health Net] CA PPO substance abuse reimbursement issues in 2017.
 18         Our EPS lowering in 2017E by an incremental 9c further
 19         contemplates a midsingle- digit negative margin on the recently
            awarded MLTSS contract for the State of PA. Our recent discussions
 20         with senior Medicaid executives on our SoCal bus tour on Aug. 31
 21         further diminish our confidence on the profitability of this contract
            both near and medium term.
 22

 23         • Downgrading CNC to MP while maintaining PT at $80. Our
            downgrade is predicated on our view of below consensus EPS
 24         achievability in 2017E with our EPS of $4.56 lowered incrementally
 25         by 9c, with consensus at $4.87. Margins in the core Medicaid business
            look to have peaked and the pressures from (a) HNT Substance abuse
 26         pressures in CA, (b) the start-up and likely continuing losses in the PA
 27         contract, and (c) potentially from phase out of 2Rs and exits in HIX in
            2017 are likely to drive margin compression in the overall book
 28

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   1         26.   On this news the Company’s shares fell $3.32 per share, or 5%, to close
   2 on September 6, 2016 at $65.30.

   3                             CLASS ACTION ALLEGATIONS
   4         27.   Plaintiff brings this action as a class action pursuant to Federal Rule of
   5 Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and

   6 entities that acquired Centene securities between April 26, 2016, and September 6,

   7 2016, inclusive, and who were damaged thereby (the “Class”). Excluded from the

   8 Class are Defendants, the officers and directors of the Company, at all relevant

   9 times, members of their immediate families and their legal representatives, heirs,

  10 successors, or assigns, and any entity in which Defendants have or had a controlling

  11 interest.

  12         28.   The members of the Class are so numerous that joinder of all members
  13 is impracticable. Throughout the Class Period, Centene’s sharess actively traded on

  14 the NYSE. While the exact number of Class members is unknown to Plaintiff at this

  15 time and can only be ascertained through appropriate discovery, Plaintiff believes

  16 that there are at least hundreds or thousands of members in the proposed Class.

  17 Millions of Centene shares were traded publicly during the Class Period on the

  18 NYSE. As of October 14, 2016, the Company had 170,892,049 shares of common

  19 stock outstanding. Record owners and other members of the Class may be identified

  20 from records maintained by Centene or its transfer agent and may be notified of the

  21 pendency of this action by mail, using the form of notice similar to that customarily

  22 used in securities class actions.

  23         29.   Plaintiff’s claims are typical of the claims of the members of the Class
  24 as all members of the Class are similarly affected by Defendants’ wrongful conduct

  25 in violation of federal law that is complained of herein.

  26         30.   Plaintiff will fairly and adequately protect the interests of the members
  27 of the Class and has retained counsel competent and experienced in class and

  28 securities litigation.

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   1        31.    Common questions of law and fact exist as to all members of the Class
   2 and predominate over any questions solely affecting individual members of the

   3 Class. Among the questions of law and fact common to the Class are:

   4               (a)   whether the federal securities laws were violated by Defendants’
   5 acts as alleged herein;

   6               (b)   whether statements made by Defendants to the investing public
   7 during the Class Period omitted and/or misrepresented material facts about the

   8 business, operations, and prospects of Centene; and

   9               (c)   to what extent the members of the Class have sustained damages
  10 and the proper measure of damages.

  11        32.    A class action is superior to all other available methods for the fair and
  12 efficient adjudication of this controversy since joinder of all members is

  13 impracticable. Furthermore, as the damages suffered by individual Class members

  14 may be relatively small, the expense and burden of individual litigation makes it

  15 impossible for members of the Class to individually redress the wrongs done to

  16 them. There will be no difficulty in the management of this action as a class action.

  17                           UNDISCLOSED ADVERSE FACTS
  18        33.    The market for Centene’s securities was open, well-developed and
  19 efficient at all relevant times. As a result of these materially false and/or misleading

  20 statements, and/or failures to disclose, Centene’s securities traded at artificially

  21 inflated prices during the Class Period. Plaintiff and other members of the Class

  22 purchased or otherwise acquired Centene’s securities relying upon the integrity of

  23 the market price of the Company’s securities and market information relating to

  24 Centene, and have been damaged thereby.

  25        34.    During the Class Period, Defendants materially misled the investing
  26 public, thereby inflating the price of Centene’s securities, by publicly issuing false

  27 and/or misleading statements and/or omitting to disclose material facts necessary to

  28 make Defendants’ statements, as set forth herein, not false and/or misleading. The

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   1 statements and omissions were materially false and/or misleading because they

   2 failed to disclose material adverse information and/or misrepresented the truth about

   3 Centene’s business, operations, and prospects as alleged herein.

   4        35.    At all relevant times, the material misrepresentations and omissions
   5 particularized in this Complaint directly or proximately caused or were a substantial

   6 contributing cause of the damages sustained by Plaintiff and other members of the

   7 Class. As described herein, during the Class Period, Defendants made or caused to

   8 be made a series of materially false and/or misleading statements about Centene’s

   9 financial well-being and prospects. These material misstatements and/or omissions

  10 had the cause and effect of creating in the market an unrealistically positive

  11 assessment of the Company and its financial well-being and prospects, thus causing

  12 the Company’s securities to be overvalued and artificially inflated at all relevant

  13 times. Defendants’ materially false and/or misleading statements during the Class

  14 Period resulted in Plaintiff and other members of the Class purchasing the

  15 Company’s securities at artificially inflated prices, thus causing the damages

  16 complained of herein when the truth was revealed.

  17                                 LOSS CAUSATION
  18        36.    Defendants’ wrongful conduct, as alleged herein, directly and
  19 proximately caused the economic loss suffered by Plaintiff and the Class.

  20        37.    During the Class Period, Plaintiff and the Class purchased Centene’s
  21 securities at artificially inflated prices and were damaged thereby. The price of the

  22 Company’s securities significantly declined when the misrepresentations made to

  23 the market, and/or the information alleged herein to have been concealed from the

  24 market, and/or the effects thereof, were revealed, causing investors’ losses.

  25                            SCIENTER ALLEGATIONS
  26        38.    As alleged herein, Defendants acted with scienter since Defendants
  27 knew that the public documents and statements issued or disseminated in the name

  28 of the Company were materially false and/or misleading; knew that such statements

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   1 or documents would be issued or disseminated to the investing public; and

   2 knowingly and substantially participated or acquiesced in the issuance or

   3 dissemination of such statements or documents as primary violations of the federal

   4 securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of

   5 their receipt of information reflecting the true facts regarding Centene, his/her

   6 control over, and/or receipt and/or modification of Centene’s allegedly materially

   7 misleading misstatements and/or their associations with the Company which made

   8 them privy to confidential proprietary information concerning Centene, participated

   9 in the fraudulent scheme alleged herein.

  10               APPLICABILITY OF PRESUMPTION OF RELIANCE
                       (FRAUD-ON-THE-MARKET DOCTRINE)
  11
             39.    The market for Centene’s securities was open, well-developed and
  12
       efficient at all relevant times. As a result of the materially false and/or misleading
  13
       statements and/or failures to disclose, Centene’s securities traded at artificially
  14
       inflated prices during the Class Period. On July 22, 2016, the Company’s shares
  15
       price closed at a Class Period high of $75.39 per share. Plaintiff and other members
  16
       of the Class purchased or otherwise acquired the Company’s securities relying upon
  17
       the integrity of the market price of Centene’s securities and market information
  18
       relating to Centene, and have been damaged thereby.
  19
             40.    During the Class Period, the artificial inflation of Centene’s share price
  20
       was caused by the material misrepresentations and/or omissions particularized in
  21
       this Complaint causing the damages sustained by Plaintiff and other members of the
  22
       Class. As described herein, during the Class Period, Defendants made or caused to
  23
       be made a series of materially false and/or misleading statements about Centene’s
  24
       business, prospects, and operations. These material misstatements and/or omissions
  25
       created an unrealistically positive assessment of Centene and its business,
  26
       operations, and prospects, thus causing the price of the Company’s securities to be
  27
       artificially inflated at all relevant times, and when disclosed, negatively affected the
  28

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   1 value of the Company share price. Defendants’ materially false and/or misleading

   2 statements during the Class Period resulted in Plaintiff and other members of the

   3 Class purchasing the Company’s securities at such artificially inflated prices, and

   4 each of them has been damaged as a result.

   5          41.   At all relevant times, the market for Centene’s securities was an
   6 efficient market for the following reasons, among others:

   7                (a)   Centene sharess met the requirements for listing, and was listed
   8 and actively traded on the NYSE, a highly efficient and automated market;

   9                (b)   As a regulated issuer, Centene filed periodic public reports with
  10 the SEC and/or the NYSE;

  11                (c)   Centene regularly communicated with public investors via
  12 established    market communication mechanisms, including through regular
  13 dissemination of press releases on the national circuits of major newswire services

  14 and through other wide-ranging public disclosures, such as communications with the

  15 financial press and other similar reporting services; and/or

  16                (d)   Centene was followed by securities analysts employed by
  17 brokerage firms who wrote reports about the Company, and these reports were

  18 distributed to the sales force and certain customers of their respective brokerage

  19 firms.     Each of these reports was publicly available and entered the public
  20 marketplace.

  21          42.   As a result of the foregoing, the market for Centene’s securities
  22 promptly digested current information regarding Centene from all publicly available

  23 sources and reflected such information in Centene’s shares price. Under these

  24 circumstances, all purchasers of Centene’s securities during the Class Period

  25 suffered similar injury through their purchase of Centene’s securities at artificially

  26 inflated prices and a presumption of reliance applies.

  27          43.   A Class-wide presumption of reliance is also appropriate in this action
  28 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United

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   1 States, 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded

   2 on Defendants’ material misstatements and/or omissions.          Because this action
   3 involves Defendants’ failure to disclose material adverse information regarding the

   4 Company’s      business operations and financial prospects—information that
   5 Defendants were obligated to disclose—positive proof of reliance is not a

   6 prerequisite to recovery. All that is necessary is that the facts withheld be material

   7 in the sense that a reasonable investor might have considered them important in

   8 making investment decisions. Given the importance of the Class Period material

   9 misstatements and omissions set forth above, that requirement is satisfied here.

  10                                 NO SAFE HARBOR
  11        44.    The statutory safe harbor provided for forward-looking statements
  12 under certain circumstances does not apply to any of the allegedly false statements

  13 pleaded in this Complaint. The statements alleged to be false and misleading herein

  14 all relate to then-existing facts and conditions. In addition, to the extent certain of

  15 the statements alleged to be false may be characterized as forward looking, they

  16 were not identified as “forward-looking statements” when made and there were no

  17 meaningful cautionary statements identifying important factors that could cause

  18 actual results to differ materially from those in the purportedly forward-looking

  19 statements. In the alternative, to the extent that the statutory safe harbor is

  20 determined to apply to any forward-looking statements pleaded herein, Defendants

  21 are liable for those false forward-looking statements because at the time each of

  22 those forward-looking statements was made, the speaker had actual knowledge that

  23 the forward-looking statement was materially false or misleading, and/or the

  24 forward-looking statement was authorized or approved by an executive officer of

  25 Centene who knew that the statement was false when made.

  26

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   1                                      FIRST CLAIM
                       Violation of Section 10(b) of The Exchange Act and
   2                          Rule 10b-5 Promulgated Thereunder
                                     Against All Defendants
   3
             45.    Plaintiff repeats and realleges each and every allegation contained
   4
       above as if fully set forth herein.
   5
             46.    During the Class Period, Defendants carried out a plan, scheme and
   6
       course of conduct which was intended to and, throughout the Class Period, did: (i)
   7
       deceive the investing public, including Plaintiff and other Class members, as alleged
   8
       herein; and (ii) cause Plaintiff and other members of the Class to purchase Centene’s
   9
       securities at artificially inflated prices. In furtherance of this unlawful scheme, plan
  10
       and course of conduct, defendants, and each of them, took the actions set forth
  11
       herein.
  12
             47.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
  13
       made untrue statements of material fact and/or omitted to state material facts
  14
       necessary to make the statements not misleading; and (iii) engaged in acts, practices,
  15
       and a course of business which operated as a fraud and deceit upon the purchasers of
  16
       the Company’s securities in an effort to maintain artificially high market prices for
  17
       Centene’s securities in violation of Section 10(b) of the Exchange Act and Rule
  18
       10b-5. All Defendants are sued either as primary participants in the wrongful and
  19
       illegal conduct charged herein or as controlling persons as alleged below.
  20
             48.    Defendants, individually and in concert, directly and indirectly, by the
  21
       use, means or instrumentalities of interstate commerce and/or of the mails, engaged
  22
       and participated in a continuous course of conduct to conceal adverse material
  23
       information about Centene’s financial well-being and prospects, as specified herein.
  24
             49.    These defendants employed devices, schemes and artifices to defraud,
  25
       while in possession of material adverse non-public information and engaged in acts,
  26
       practices, and a course of conduct as alleged herein in an effort to assure investors of
  27
       Centene’s value and performance and continued substantial growth, which included
  28

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   1 the making of, or the participation in the making of, untrue statements of material

   2 facts and/or omitting to state material facts necessary in order to make the

   3 statements made about Centene and its business operations and future prospects in

   4 light of the circumstances under which they were made, not misleading, as set forth

   5 more particularly herein, and engaged in transactions, practices and a course of

   6 business which operated as a fraud and deceit upon the purchasers of the Company’s

   7 securities during the Class Period.

   8        50.    Each of the Individual Defendants’ primary liability, and controlling
   9 person liability, arises from the following facts: (i) the Individual Defendants were

  10 high-level executives and/or directors at the Company during the Class Period and

  11 members of the Company’s management team or had control thereof; (ii) each of

  12 these defendants, by virtue of their responsibilities and activities as a senior officer

  13 and/or director of the Company, was privy to and participated in the creation,

  14 development and reporting of the Company’s internal budgets, plans, projections

  15 and/or reports; (iii) each of these defendants enjoyed significant personal contact

  16 and familiarity with the other defendants and was advised of, and had access to,

  17 other members of the Company’s management team, internal reports and other data

  18 and information about the Company’s finances, operations, and sales at all relevant

  19 times; and (iv) each of these defendants was aware of the Company’s dissemination

  20 of information to the investing public which they knew and/or recklessly

  21 disregarded was materially false and misleading.

  22        51.    The defendants had actual knowledge of the misrepresentations and/or
  23 omissions of material facts set forth herein, or acted with reckless disregard for the

  24 truth in that they failed to ascertain and to disclose such facts, even though such

  25 facts were available to them. Such defendants’ material misrepresentations and/or

  26 omissions were done knowingly or recklessly and for the purpose and effect of

  27 concealing Centene’s financial well-being and prospects from the investing public

  28 and supporting the artificially inflated price of its securities. As demonstrated by

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   1 Defendants’ overstatements and/or misstatements of the Company’s business,

   2 operations, financial well-being, and prospects throughout the Class Period,

   3 Defendants, if they did not have actual knowledge of the misrepresentations and/or

   4 omissions alleged, were reckless in failing to obtain such knowledge by deliberately

   5 refraining from taking those steps necessary to discover whether those statements

   6 were false or misleading.

   7        52.    As a result of the dissemination of the materially false and/or
   8 misleading information and/or failure to disclose material facts, as set forth above,

   9 the market price of Centene’s securities was artificially inflated during the Class

  10 Period. In ignorance of the fact that market prices of the Company’s securities were

  11 artificially inflated, and relying directly or indirectly on the false and misleading

  12 statements made by Defendants, or upon the integrity of the market in which the

  13 securities trades, and/or in the absence of material adverse information that was

  14 known to or recklessly disregarded by Defendants, but not disclosed in public

  15 statements by Defendants during the Class Period, Plaintiff and the other members

  16 of the Class acquired Centene’s securities during the Class Period at artificially high

  17 prices and were damaged thereby.

  18        53.    At the time of said misrepresentations and/or omissions, Plaintiff and
  19 other members of the Class were ignorant of their falsity, and believed them to be

  20 true. Had Plaintiff and the other members of the Class and the marketplace known

  21 the truth regarding the problems that Centene was experiencing, which were not

  22 disclosed by Defendants, Plaintiff and other members of the Class would not have

  23 purchased or otherwise acquired their Centene securities, or, if they had acquired

  24 such securities during the Class Period, they would not have done so at the

  25 artificially inflated prices which they paid.

  26        54.    By virtue of the foregoing, Defendants have violated Section 10(b) of
  27 the Exchange Act and Rule 10b-5 promulgated thereunder.

  28        55.    As a direct and proximate result of Defendants’ wrongful conduct,

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   1 Plaintiff and the other members of the Class suffered damages in connection with

   2 their respective purchases and sales of the Company’s securities during the Class

   3 Period.

   4                                  SECOND CLAIM
                        Violation of Section 20(a) of The Exchange Act
   5                          Against the Individual Defendants
   6        56.    Plaintiff repeats and realleges each and every allegation contained
   7 above as if fully set forth herein.

   8        57.    The Individual Defendants acted as controlling persons of Centene
   9 within the meaning of Section 20(a) of the Exchange Act as alleged herein. By

  10 virtue of their high-level positions, and their ownership and contractual rights,

  11 participation in and/or awareness of the Company’s operations and/or intimate

  12 knowledge of the false financial statements filed by the Company with the SEC and

  13 disseminated to the investing public, the Individual Defendants had the power to

  14 influence and control and did influence and control, directly or indirectly, the

  15 decision-making of the Company, including the content and dissemination of the

  16 various statements which Plaintiff contends are false and misleading.                 The
  17 Individual Defendants were provided with or had unlimited access to copies of the

  18 Company’s reports, press releases, public filings and other statements alleged by

  19 Plaintiff to be misleading prior to and/or shortly after these statements were issued

  20 and had the ability to prevent the issuance of the statements or cause the statements

  21 to be corrected.

  22        58.    In particular, each of these Defendants had direct and supervisory
  23 involvement in the day-to-day operations of the Company and, therefore, is

  24 presumed to have had the power to control or influence the particular transactions

  25 giving rise to the securities violations as alleged herein, and exercised the same.

  26        59.    As set forth above, Centene and the Individual Defendants each
  27 violated Section 10(b) and Rule 10b-5 by their acts and/or omissions as alleged in

  28 this Complaint. By virtue of their positions as controlling persons, the Individual

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   1 Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct

   2 and proximate result of Defendants’ wrongful conduct, Plaintiff and other members

   3 of the Class suffered damages in connection with their purchases of the Company’s

   4 securities during the Class Period.

   5                                PRAYER FOR RELIEF
   6        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
   7        (a)    Determining that this action is a proper class action under Rule 23 of
   8 the Federal Rules of Civil Procedure;

   9        (b)    Awarding compensatory damages in favor of Plaintiff and the other
  10 Class members against all defendants, jointly and severally, for all damages

  11 sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

  12 including interest thereon;

  13        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
  14 incurred in this action, including counsel fees and expert fees; and

  15        (d)    Such other and further relief as the Court may deem just and proper.
  16                               JURY TRIAL DEMANDED
  17        Plaintiff hereby demands a trial by jury.
  18
       Dated: November 14, 2016              GLANCY PRONGAY & MURRAY LLP
  19

  20
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                         Israel Sanchez's Transactions in
                              Centene Corp. (CNC)
               Date     Transaction Type     Quantity       Unit Price
             06/07/2016      Bought                    65      $66.6800
